                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                               EASTERN DIVISION

UNITED STATES OF AMERICA,
Plaintiff,

    vs.                                                            Case No. 06cr1020
                                                                   Hon. Linda Reade
TERRY SAMUELS,
Defendant.


  DEFENDANT TERRY SAMUELS’S REPLY IN SUPPORT OF HIS MOTION
   FOR A REDUCED SENTENCE UNDER SECTION 404(b) OF THE FIRST
                         STEP ACT

       DEFENDANT TERRY SAMUELS is serving a mandatory life sentence for

distributing 20.24 grams (Count 1) and 19.35 grams (Count 2) of crack within 1000 feet of a

protected location. In further support of his Motion for a Sentence Reduction, Mr. Samuels

states as follows:


   1. Mr. Samuels was charged with violating Title 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B),

       860(a).

   2. Mr. Samuels has filed a motion for relief under Section 404 of the First Step Act,

       maintaining his statutory penalties have changed since the passage of the Fair

       Sentencing Act.

   3. On January 27, the government responded in opposition, arguing Mr. Samuels’

       statutory penalties have not changed and, therefore, he is ineligible for First Step Act

       relief. Specifically, the government contends: “21 U.S.C. § 841(b)(1)(A) specifically




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       provided for a mandatory minimum of life imprisonment for a violation of § 860 after

       two or more prior felony drug convictions.” (emphasis added)

    4. While it may be true that 21 U.S.C. § 841(b)(1)(A) requires a mandatory life conviction

       after a second or subsequent drug conviction, that has nothing to do with Mr. Samuels

       case. Mr. Samuels was never charged or convicted of violating 21 U.S.C. § 841(b)(1)(A).

       His conduct has never risen to the drug quantities set forth in 21 U.S.C. § 841(b)(1)(A),

       either before or after the First Step Act.

    5. Subsection (A) of 21 U.S.C. § 841(b)(1) would have only applied if Mr. Samuels had

       distributed at least 50 grams of crack near a protection location.1 In both charged

       counts, Mr. Samuels’s offense involved approximately 20 grams of crack, which is far

       short of the amount necessary to charge a violation of 21 U.S.C. § 841(b)(1)(A) or

       trigger its enhanced penalties.

    6. Essentially, the government makes the entirely erroneous argument that it can graft a

       mandatory life penalty from an uncharged subsection of the drug statute to the

       subsection it charged. Notably, the government did not and cannot cite to a single case

       that supports its argument.

    7. The government got it wrong in Mr. Samuels case when he was sentenced. It made an

       erroneous argument to the Court. Mr. Samuels has served nearly 13 years of a life

       sentence that should not have been imposed. For 13 years he has believed he will die




1      Today post-FSA, Subsection A’s higher penalties, including the Three Strikes Enhancement,
only apply when the drug offense involved at least 280 grams of crack.


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       in prison. Sadly, the government continues to misinterpret the law today. Fortunately,

       the First Step Act allows the Court to correctly reduce Mr. Samuels’s sentence.

                                           CONCLUSION

       Defendant Terry Samuels is eligible for a sentence reduction under Section 404(b) of

the First Step Act. Mr. Samuels asks the Court to reduce his life sentence to 180 months’ of

concurrent imprisonment on Count 1 and Count 2, particularly given the low drug quantity in

this case, his earnest rehabilitation, and the need to avoid unwarranted disparities.



Respectfully submitted,

                                                           TERRY SAMUELS
                                                           DEFENDANT

                                                           BY: /s/ MiAngel Cody
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                              CERTIFICATE OF SERVICE

       The undersigned, MiAngel Cody, an attorney with The Decarceration Collective
hereby certifies that on January 27, 2019, I electronically filed the following with the Clerk
of the Court using the CM/ECF system:


  DEFENDANT TERRY SAMUELS’S REPLY IN SUPPORT OF HIS MOTION
   FOR A REDUCED SENTENCE UNDER SECTION 404(b) OF THE FIRST
                         STEP ACT


                                                                   /s/ MiAngel Cody
                                                                  MIANGEL CODY

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                                                               Attorney for Terry Samuels




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